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               EXHIBIT H
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                                              INDEX IN SUPPORT OF MOTION TO SEAL
                                                SCOPE OF DISCOVERY (ECF NO. 313)

                                                                                                 Why a Less
                                                                             Clearly Defined
                                                                                                  Restrictive       Prior
                                                   Basis for Sealing          and Serious
                                                                                                 Alternative        Order   Party in
                                                (Legitimate Private or         Injury that
      Material/Title of Document                                                                 to the Relief     Sealing Opposition
                                                 Public Interests That       Would Result if
                                                                                                  Sought Is       the Same to Sealing
                                                 Warrant the Relief)          Relief Is Not
                                                                                                      Not         Materials
                                                                                Granted
                                                                                                  Available

                                               JJHCS requests the            If filed on the     JJHCS            None     None
Letter from E. Evans Wohlforth, Jr. Esq.       redaction of information      public docket,      requests the
to Honor Wolfson regarding SaveOnSP's          and discussion in the         these portions of   sealing of
Motion to Compel Scope of Discovery of         April 22 letter that is not   the April 22        only the
   the Janssen Entities [dated April 22,       known to the general          letter would        information
                  2024]                        public and which the          reveal              that will
             (ECF No. 313)                     parties agreed to keep        confidential        reveal
                                               confidential. JJHCS           material relating   confidential
Page 3     (“Kevin . . . Stelera”), (“In . . . maintains that these          to JJHCS’s          information
           conditions”), (“Local . . .         documents and exhibits        sensitive           that is not
           exploit”)                           contain sensitive business    business            known to the
                                               information, including        information.        general
Page 4     (“in . . . T&Cs”), (“draft . . .    information related to                            public. No
           T&Cs”), (“Janssen . . .             non-party Janssen             Disclosure of       less
           T&Cs”), (“Janssen . . .             entities.                     this confidential   restrictive
           programs”), (“Janssen . . .                                       and proprietary     alternative is
           programs”), (“term . . .                                          information to      available or
           support”)                                                         the public would    practicable.
                                                                             cause irreparable
Page 4,    (“describing . . . drug”),                                        harm to JJHCS
note 2     (“assists . . . J&J”), (“Janssen                                  because it would
           . . . payer”)                                                     place JJHCS at a
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                                                                                       Why a Less
                                                                     Clearly Defined
                                                                                        Restrictive      Prior
                                               Basis for Sealing      and Serious
                                                                                       Alternative       Order   Party in
                                            (Legitimate Private or     Injury that
      Material/Title of Document                                                       to the Relief    Sealing Opposition
                                             Public Interests That   Would Result if
                                                                                        Sought Is      the Same to Sealing
                                             Warrant the Relief)      Relief Is Not
                                                                                            Not        Materials
                                                                        Granted
                                                                                        Available

Page 5    (“. . .”), (“2021 . . .                                    competitive
          utilization”)                                              disadvantage if
                                                                     its competitors
Page 6    (“Janssen . . . effort”),                                  secured the
          (“Janssen . . . accumulators”),                            information.
          (“Objective . . . groups”),
          (“The . . . programs”),
          (“worked . . . maximizers”),
          (“Draft . . . program”)

Page 7     (“Proposal . . . employees”),
          (“Sylvia . . . programs”),
          (“executed . . . TrialCard”),
          (“Janssen . . . program”),
          (“Maximizer . . . impact”)

Page 7,   (“Mike . . . LLC”)
note 7

Page 8    (“Sylvia . . . programs”),
          (“Janssen . . . presentation”),
          (“Actelion . . . branding”),
          (“J&J . . . exposure”)



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                                                                                          Why a Less
                                                                        Clearly Defined
                                                                                           Restrictive      Prior
                                                  Basis for Sealing      and Serious
                                                                                          Alternative       Order   Party in
                                               (Legitimate Private or     Injury that
      Material/Title of Document                                                          to the Relief    Sealing Opposition
                                                Public Interests That   Would Result if
                                                                                           Sought Is      the Same to Sealing
                                                Warrant the Relief)      Relief Is Not
                                                                                               Not        Materials
                                                                           Granted
                                                                                           Available

Page 9     (“Janssen . . . budget”),
           (“presentation . . .
           assistance”), (“minutes . . .
           SaveOn”), (“email . . .
           letters”), (“Janssen . . .
           program”)

Page 10    (“Janssen . . . Roll-Out”),
           (“Janssen . . . fair”), (“Janssen
           . . . patients”), (“meeting . . .
           SaveOn”), (“Janssen . . .
           complaints”), (“when . . .
           program”), (“patients . . .
           patients”)

Page 10,   (“Janssen . . . Inc.”),
note 18    (“Janssen . . . L.P.”)

Page 11    (“are . . . discuss”), (“I . . .
           minimum”), (“Janssen . . .
           program”), (“Thanks . . .
           opportunity”), (“Will . . .
           received”), (“Janssen . . .
           litigation”), (“Janssen . . .


                                                                 3
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                                                                                        Why a Less
                                                                      Clearly Defined
                                                                                         Restrictive      Prior
                                                Basis for Sealing      and Serious
                                                                                        Alternative       Order   Party in
                                             (Legitimate Private or     Injury that
     Material/Title of Document                                                         to the Relief    Sealing Opposition
                                              Public Interests That   Would Result if
                                                                                         Sought Is      the Same to Sealing
                                              Warrant the Relief)      Relief Is Not
                                                                                             Not        Materials
                                                                         Granted
                                                                                         Available

          communication”), (“Sylvia
          . . . letter”)

Page 12   (“Janssen . . . research”),
          (“2020 . . . discontinuation”),
          (“Advocacy . . . patients”),
          (“meeting . . . document”),
          (“Janssen . . . outcomes”),
          (“Janssen . . . LLC”)

Page 13   (“employee . . . urgency”),
          (“Study . . . Inc.”), (“Janssen
          . . . leadership”), (“Janssen
          . . . programs”), (“email . . .
          programs”), (“Sylvia . . .
          patients”), (“Janssen . . . in”)

Page 14   (“accumulator . . . patients”),
          (“Maximizer . . . support”),
          (“several . . . programs”),
          (“email . . . max”), (“Janssen
          . . . confusion”), (“Ingraham
          . . . argue”)



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                     Case 2:22-cv-02632-CCC-CLW                Document 360-10          Filed 08/27/24     Page 6 of 24
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                                                                                                    Why a Less
                                                                                Clearly Defined
                                                                                                     Restrictive      Prior
                                                      Basis for Sealing          and Serious
                                                                                                    Alternative       Order   Party in
                                                   (Legitimate Private or         Injury that
       Material/Title of Document                                                                   to the Relief    Sealing Opposition
                                                    Public Interests That       Would Result if
                                                                                                     Sought Is      the Same to Sealing
                                                    Warrant the Relief)          Relief Is Not
                                                                                                         Not        Materials
                                                                                   Granted
                                                                                                     Available

Page 15       (“that . . . midyear”), (“federal
              . . . employers”), (“email . . .
              non-adherence”)

Page 15,      (“Report . . . party”)
note 29

Page 17       (“documents . . . Lade”)

Exhibit 1     Redaction of discovery              JJHCS requests the            If filed on the     JJHCS           None     None
              responses regarding CarePath        redaction of information      public docket,      requests the
              strategy                            in certain exhibits to the    these exhibits to   sealing of
                                                  April 22 letter that is not   the April 22        only the
Exhibits      Sealing of emails and               known to the general          letter would        information
3, 4, 5, 9,   confidential attachments            public and which the          reveal              that will
10, 11,       regarding business                  parties agreed to keep        confidential        reveal
13, 14,       information                         confidential. JJHCS           material relating   confidential
15, 16,                                           maintains that these          to JJHCS’s          information
18, 19,                                           documents and exhibits        sensitive           that is not
20, 21,                                           contain sensitive business    business            known to the
22, 23,                                           information, including        information.        general
24, 26,                                           information related to                            public. No
27, 28,                                           non-party Janssen             Disclosure of       less
29, 30,                                           entities.                     this confidential   restrictive
32, 33,                                                                         and proprietary

                                                                        5
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                                                                                  Why a Less
                                                              Clearly Defined
                                                                                   Restrictive       Prior
                                        Basis for Sealing      and Serious
                                                                                  Alternative        Order   Party in
                                     (Legitimate Private or     Injury that
      Material/Title of Document                                                  to the Relief     Sealing Opposition
                                      Public Interests That   Would Result if
                                                                                   Sought Is       the Same to Sealing
                                      Warrant the Relief)      Relief Is Not
                                                                                       Not         Materials
                                                                 Granted
                                                                                   Available

34, 35,                                                       information to      alternative is
36, 37,                                                       the public would    available or
38, 39,                                                       cause irreparable   practicable.
40, 41,                                                       harm to JJHCS
42, 43,                                                       because it would
44, 45,                                                       place JJHCS at a
46, 48,                                                       competitive
49, 50,                                                       disadvantage if
52, 54,                                                       its competitors
60, 61,                                                       secured the
62, 63,                                                       information.
65, 66,
67, 68,
69, 70,
71, 72,
73, 74,
75, 76,
77, 79 &
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Exhibits   Sealing of confidential
6, 17 &    contracts
25



                                                       6
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                                                                                        Why a Less
                                                                      Clearly Defined
                                                                                         Restrictive      Prior
                                                Basis for Sealing      and Serious
                                                                                        Alternative       Order   Party in
                                             (Legitimate Private or     Injury that
      Material/Title of Document                                                        to the Relief    Sealing Opposition
                                              Public Interests That   Would Result if
                                                                                         Sought Is      the Same to Sealing
                                              Warrant the Relief)      Relief Is Not
                                                                                             Not        Materials
                                                                         Granted
                                                                                         Available

Exhibits    Sealing of emails and
7, 31, &    confidential attachments
47          regarding the CarePath
            program

Exhibit 8   Sealing of confidential
            documents regarding
            CarePath information

Exhibit     Sealing of internal chat
12          correspondence and
            confidential attachments
            regarding the CarePath
            program

Exhibits    Sealing of confidential emails
51, 53,     regarding business
55, 56,     information
57, 58,
59, 64 &
80

Exhibits    Redaction of discovery letters
78 & 82


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                                                                                                Why a Less
                                                                            Clearly Defined
                                                                                                 Restrictive       Prior
                                                   Basis for Sealing         and Serious
                                                                                                Alternative        Order   Party in
                                                (Legitimate Private or        Injury that
      Material/Title of Document                                                                to the Relief     Sealing Opposition
                                                 Public Interests That      Would Result if
                                                                                                 Sought Is       the Same to Sealing
                                                 Warrant the Relief)         Relief Is Not
                                                                                                     Not         Materials
                                                                               Granted
                                                                                                 Available

                                               JJHCS requests the           If filed on the     JJHCS            None     None
  2024.05.14 Opposition to Non-JJHCS           redaction of information     public docket,      requests the
           Motion to Compel                    and discussion in the        these portions of   sealing of
           (ECF No. 313-84)                    May 14 letter that is not    the May 14 letter   only the
                                               known to the general         would reveal        information
Page 5,   (“Hanculak . . . .com> . . . “)      public and which the         confidential        that will
note 4                                         parties agreed to keep       material relating   reveal
                                               confidential. JJHCS          to JJHCS’s          confidential
Page 13   (“This . . . Deep-Dive”),            maintains that these         sensitive           information
          (“Pennington . . .                   documents and exhibits       business            that is not
          Rheum/Derm”), (“in . . .             contain sensitive business   information.        known to the
          corner”), (“the . . . drugs”),       information, including                           general
          (“another . . . 2022”), (“slides     information related to       Disclosure of       public. No
          . . . Inc. “)                        non-party Janssen            this confidential   less
                                               entities.                    and proprietary     restrictive
Page 14    (“JJHCS . . . performs”),                                        information to      alternative is
          (“Janssen . . . letter”),                                         the public would    available or
          (“Janssen . . . slides”), (“bears                                 cause irreparable   practicable.
          . . . copyright”), (“Janssen . . .                                harm to JJHCS
          order”), (“Janssen . . .                                          because it would
          vendor”), (“the . . . vendor”)                                    place JJHCS at a
                                                                            competitive
Page 15    (“Katie . . . chain”), (“Katie                                   disadvantage if
          . . . ”), (“Janssen . . .                                         its competitors
          Invokana”), (“Janssen . . .

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                                                                                         Why a Less
                                                                       Clearly Defined
                                                                                          Restrictive      Prior
                                                 Basis for Sealing      and Serious
                                                                                         Alternative       Order   Party in
                                              (Legitimate Private or     Injury that
     Material/Title of Document                                                          to the Relief    Sealing Opposition
                                               Public Interests That   Would Result if
                                                                                          Sought Is      the Same to Sealing
                                               Warrant the Relief)      Relief Is Not
                                                                                              Not        Materials
                                                                          Granted
                                                                                          Available

          doctors”), (“the . . .                                       secured the
          conditions”)                                                 information.

Page 16   (“explores . . . irrelevant”),
          (“an . . . T&Cs”), (“does . . .
          discussion”), (“September . . .
          methodology”)

Page 17   (“all . . . logo”),
          (“presentation . . . slides”),
          (“presentation . . . logo”),
          (“presentation . . . slides”),
          (“talking . . . document”),
          (“presentation . . . footers”),
          (“talking . . . attorney”), (“an
          . . . Inc.”), (“TrialCard . . .
          work”)

Page 18   (“designate . . . work”),
          (“proposal . . . employee”),
          (“work . . . employee”),
          (“work . . . groups”), (“in . . .
          order”), (“Silas . . . order”),
          (“work . . . executed”), (“only
          . . . conversations”), (“copied

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                                                                                          Why a Less
                                                                        Clearly Defined
                                                                                           Restrictive      Prior
                                                  Basis for Sealing      and Serious
                                                                                          Alternative       Order   Party in
                                               (Legitimate Private or     Injury that
      Material/Title of Document                                                          to the Relief    Sealing Opposition
                                                Public Interests That   Would Result if
                                                                                           Sought Is      the Same to Sealing
                                                Warrant the Relief)      Relief Is Not
                                                                                               Not        Materials
                                                                           Granted
                                                                                           Available

           . . . bystanders”), (“Cleveland
           . . . conversations”),
           (“regarding . . . in”),
           (“Cleveland . . . bystander”)

Page 19     (“including . . . email”),
           (“group . . . Barnard”),
           (“Janssen . . . litigation”),
           (“the . . . employees”), (“This
           . . . this”), (“involves . . .
           responsibilities”), (“Mr. . . .
           involvement”)

Page 19,   (“This . . . Team”), (“one . . .
note 8     Solutions”)

Page 20    (“Brian . . . inquiries”), (“such
           . . . CarePath”), (“presentation
           . . . experience”), (“JJHCS . . .
           entities”), (“Lauren . . .
           solution”), (“only . . .
           comment”), (“Christi . . .
           Cruz”)



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                                                                                                  Why a Less
                                                                              Clearly Defined
                                                                                                   Restrictive      Prior
                                                     Basis for Sealing         and Serious
                                                                                                  Alternative       Order   Party in
                                                  (Legitimate Private or        Injury that
      Material/Title of Document                                                                  to the Relief    Sealing Opposition
                                                   Public Interests That      Would Result if
                                                                                                   Sought Is      the Same to Sealing
                                                   Warrant the Relief)         Relief Is Not
                                                                                                       Not        Materials
                                                                                 Granted
                                                                                                   Available

Page 21     (“audience . . . Cruz”),
            (“Alison . . . conversation”),
            (“existing . . . issues”), (“non-
            JJHCS . . . action”), (“Camille
            . . . custodians”), (“Dorsey . . .
            received”)

Page 22     (“by . . . Program”), (“with
            . . . area”), (“Janssen . . .
            information”), (“Sylvia . . .
            letter”), (“Janssen . . . plan”),
            (“the . . . plan”)

Page 23     (“Silas . . . bystander”)

Page 24     (“presentation . . . CVS”),
            (“already . . . parameters”),
            (“no . . . SaveOnSP”),
            (“discussing . . . R&D”),
            (“discussing . . . program”)

Exhibit 1   Redaction of discovery               JJHCS requests the           If filed on the     JJHCS           None     None
            responses regarding                  redaction of information     public docket,      requests the
            administration of CarePath           in certain exhibits to the   these exhibits to   sealing of


                                                                      11
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                                                                                             Why a Less
                                                                         Clearly Defined
                                                                                              Restrictive       Prior
                                                Basis for Sealing         and Serious
                                                                                             Alternative        Order   Party in
                                             (Legitimate Private or        Injury that
      Material/Title of Document                                                             to the Relief     Sealing Opposition
                                              Public Interests That      Would Result if
                                                                                              Sought Is       the Same to Sealing
                                              Warrant the Relief)         Relief Is Not
                                                                                                  Not         Materials
                                                                            Granted
                                                                                              Available

Exhibit 2   Redaction of discovery letter   May 14 letter that is not    the May 14 letter   only the
            regarding CarePath              known to the general         would reveal        information
            administration                  public and which the         confidential        that will
                                            parties agreed to keep       material relating   reveal
                                            confidential. JJHCS          to JJHCS’s          confidential
                                            maintains that these         sensitive           information
                                            documents and exhibits       business            that is not
                                            contain sensitive business   information.        known to the
                                            information, including                           general
                                            information related to the   Disclosure of       public. No
                                            administration of the        this confidential   less
                                            CarePath program.            and proprietary     restrictive
                                                                         information to      alternative is
                                                                         the public would    available or
                                                                         cause irreparable   practicable.
                                                                         harm to JJHCS
                                                                         because it would
                                                                         place JJHCS at a
                                                                         competitive
                                                                         disadvantage if
                                                                         its competitors
                                                                         secured the
                                                                         information.



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                                                                                              Why a Less
                                                                          Clearly Defined
                                                                                               Restrictive       Prior
                                                 Basis for Sealing         and Serious
                                                                                              Alternative        Order   Party in
                                              (Legitimate Private or        Injury that
      Material/Title of Document                                                              to the Relief     Sealing Opposition
                                               Public Interests That      Would Result if
                                                                                               Sought Is       the Same to Sealing
                                               Warrant the Relief)         Relief Is Not
                                                                                                   Not         Materials
                                                                             Granted
                                                                                               Available

                                             JJHCS requests the           If filed on the     JJHCS            None     None
      2024.05.21 SaveOnSP Reply              redaction of information     public docket,      requests the
           (ECF No. 313-89)                  and discussion in the        these portions of   sealing of
                                             May 21 letter that is not    the May 21 letter   only the
Page 5,   (“Alison . . . Janssen”),          known to the general         would reveal        information
note 1    (“Hoffman . . . day”), (“John      public and which the         confidential        that will
          . . . Janssen”), (“naming . . .    parties agreed to keep       material relating   reveal
          positions”), (“Karen . . .         confidential. JJHCS          to JJHCS’s          confidential
          employee”), (“Scott . . .          maintains that these         sensitive           information
          Inc.”), (“Scott . . . Johnson”)    documents and exhibits       business            that is not
                                             contain sensitive business   information.        known to the
Page 11   (“Biotech . . . T&Cs”),            information, including                           general
          (“presenting . . . T&Cs”),         information related to       Disclosure of       public. No
          (“directing . . . efforts”), (“and non-party Janssen            this confidential   less
          . . . ”), (“presenting . . .       entities.                    and proprietary     restrictive
          program”)                                                       information to      alternative is
                                                                          the public would    available or
Page 12   (“for . . . program”), (“in . . .                               cause irreparable   practicable.
          employee”), (“stated . . . ”),                                  harm to JJHCS
          (“In . . . complaints”),                                        because it would
          (“shows . . . employee”),                                       place JJHCS at a
          (“provides . . . risk”)                                         competitive
                                                                          disadvantage if
Page 13   (“two . . . T&Cs”), (“they . . .                                its competitors
          logo”), (“were . . .

                                                                 13
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                                                                                           Why a Less
                                                                         Clearly Defined
                                                                                            Restrictive      Prior
                                                   Basis for Sealing      and Serious
                                                                                           Alternative       Order   Party in
                                                (Legitimate Private or     Injury that
     Material/Title of Document                                                            to the Relief    Sealing Opposition
                                                 Public Interests That   Would Result if
                                                                                            Sought Is      the Same to Sealing
                                                 Warrant the Relief)      Relief Is Not
                                                                                                Not        Materials
                                                                            Granted
                                                                                            Available

          employee”), (“July . . . 13”),                                 secured the
          (“January . . . 13”), (“April                                  information.
          . . . block”), (“July . . . logo”),
          (“Pennington . . . intentional”)

Page 14   (“lists . . . Biotech”),
          (“reviewing . . .
          accumulation/maximization”),
          (“JJHCS’s . . . order”),
          (“JJHCS . . . uninvolved”),
          (“if . . . involvement”),
          (“Archbow . . . employee”),
          (“does . . . contracting”),
          (“Biotech . . . work”)

Page 15   (“. . . JJHCS”), (“. . .
          subject”), (“Katie . . .
          conditions”), (“Revising . . .
          exposure”), (“bystander . . .
          chain”), (“Avalere . . . the”),
          (“Biotech . . . accumulators”),
          (“asking . . . authority”), (“. . .
          discussion”), (“participation



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                                                                                            Why a Less
                                                                          Clearly Defined
                                                                                             Restrictive      Prior
                                                    Basis for Sealing      and Serious
                                                                                            Alternative       Order   Party in
                                                 (Legitimate Private or     Injury that
      Material/Title of Document                                                            to the Relief    Sealing Opposition
                                                  Public Interests That   Would Result if
                                                                                             Sought Is      the Same to Sealing
                                                  Warrant the Relief)      Relief Is Not
                                                                                                 Not        Materials
                                                                             Granted
                                                                                             Available

           . . . personnel”), (“and . . .
           edits”)

Page 15,   (“indicates . . . employee”)
note 11

Page 16     (“Biotech . . . program”),
           (“merely . . . comment”),
           (“the . . . tactic”), (“sought
           . . .”), (“shows . . .”), (“. . .
           litigation”), (“email . . .”), (“it
           . . . responsibilities”), (“chain
           . . . conversation”), (“. . .
           Anneke”)

Page 17    (“Biotech . . . help”), (“After
           . . . activities”), (“Karen . . .
           program”), (“She . . . ”), (“the
           . . . SaveOn”)

Page 18    (“Biotech . . . SaveOn”),
           (“shows . . . area”), (“shows
           . . . SaveOn”), (“. . . ”), (“an
           . . . T&Cs”), (“Biotech . . .
           plan”), (“they . . .

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                                                                                           Why a Less
                                                                         Clearly Defined
                                                                                            Restrictive      Prior
                                                   Basis for Sealing      and Serious
                                                                                           Alternative       Order   Party in
                                                (Legitimate Private or     Injury that
     Material/Title of Document                                                            to the Relief    Sealing Opposition
                                                 Public Interests That   Would Result if
                                                                                            Sought Is      the Same to Sealing
                                                 Warrant the Relief)      Relief Is Not
                                                                                                Not        Materials
                                                                            Granted
                                                                                            Available

          employees”), (“Weinlein’s
          . . . Inc.”)

Page 19    (“Weinlein’s . . . Biotech”),
          (“Biotech . . . complaints”),
          (“documents . . . Program”),
          (“Biotech . . . program”),
          (“these . . . minimum”),
          (“later . . . program”),
          (“Thanks . . . opportunity”)

Page 20   (“Kevin . . . Stelera”), (“only
          . . . Program”), (“whether . . .
          drug”), (“The . . . 4-6”), (“that
          . . . Stelera”), (“No . . . plan”),
          (“assessing . . . patients”),
          (“developing . . . exposure”),
          (“impact . . .”)

Page 21   (“merely . . . conversation”),
          (“Immunology . . . updates”),
          (“this . . . damages”),
          (“showing . . . 2021”),
          (“discussing . . .”), (“only . . .
          comment”), (“Biotech . . .

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                                                                                       Why a Less
                                                                     Clearly Defined
                                                                                        Restrictive      Prior
                                               Basis for Sealing      and Serious
                                                                                       Alternative       Order   Party in
                                            (Legitimate Private or     Injury that
      Material/Title of Document                                                       to the Relief    Sealing Opposition
                                             Public Interests That   Would Result if
                                                                                        Sought Is      the Same to Sealing
                                             Warrant the Relief)      Relief Is Not
                                                                                            Not        Materials
                                                                        Granted
                                                                                        Available

           withMe”), (“Included . . .
           CAPa”), (“show . . . that”),
           (“Adrienne . . . programs”)

Page 21,   (“Tahir . . . employee”), (“he
note 15    . . .”)

Page 22    (“worked . . . programs”),
           (“Marzullo . . . program”),
           (“Marzullo . . . program”)
           (“shows . . . program”),
           (“JJHCS . . . entities”),
           (“JJHCS . . .”), (“calls . . .
           question”), (“assists . . .
           J&J”), (“involved . . .
           CarePath”), (“Michelle . . .
           exposure”)

Page 22,   (“describing . . . ”)
note 16

Page 23     (“Pharmaceuticals . . .
           SaveOn”), (“work . . .”),
           (“copy . . . Program”),
           (“benefits . . . Inc.”),

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                                                                                         Why a Less
                                                                       Clearly Defined
                                                                                          Restrictive      Prior
                                                 Basis for Sealing      and Serious
                                                                                         Alternative       Order   Party in
                                              (Legitimate Private or     Injury that
      Material/Title of Document                                                         to the Relief    Sealing Opposition
                                               Public Interests That   Would Result if
                                                                                          Sought Is      the Same to Sealing
                                               Warrant the Relief)      Relief Is Not
                                                                                              Not        Materials
                                                                          Granted
                                                                                          Available

           (“Pharmaceuticals . . .
           T&Cs”)

Page 23,   (“The . . . programs”), (“The
note 17    . . . decisions”), (“The . . .
           week”), (“It . . .
           Pharmaceuticals”)

Page 23,   (“Walker . . . Inc.”)
note 18

Page 24     (“it . . . comment”), (“Walker
           . . . solutions”), (“The . . .
           program”), (“features . . .
           conversation”), (“was . . .
           program”), (“relates . . .
           CarePath”), (“the . . .
           maximizers”), (“discussing
           . . .”), (“developed . . .
           entities”)

Page 25     (“email . . . project”),
           (“Orlacchio . . . email”), (“the
           . . . CAP”), (“Orlacchio . . .
           program”), (“Actelion’s . . .

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                                                                                          Why a Less
                                                                        Clearly Defined
                                                                                           Restrictive      Prior
                                                  Basis for Sealing      and Serious
                                                                                          Alternative       Order   Party in
                                               (Legitimate Private or     Injury that
     Material/Title of Document                                                           to the Relief    Sealing Opposition
                                                Public Interests That   Would Result if
                                                                                           Sought Is      the Same to Sealing
                                                Warrant the Relief)      Relief Is Not
                                                                                               Not        Materials
                                                                           Granted
                                                                                           Available

          maximizers”), (“does . . .
          Program”), (“Actelion’s . . .
          Programs”), (“addressing . . .
          ”)

Page 26   (“for . . . Actelion”),
          (“Actelion . . . Orlacchio”),
          (“Orlacchio . . . maximizers”),
          (“When . . . yet”), (“showing
          . . . Products”)

Page 27   (“they . . . conversation”),
          (“Christopher . . . used”),
          (“Blasine . . . SaveOn”),
          (“that . . . SaveOn”), (“stray
          . . . responsibility”), (“Jean
          . . . awareness”), (“The . . .
          letter”), (“Far . . . it”)

Page 28   (“simply . . . litigation”),
          (“discusses . . . fashion”),
          (“includes . . . Programs”),
          (“which . . . today”), (“This
          . . . SaveOn”), (“Scientific . . .
          topic”), (“Scientific . . .

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                                                                                         Why a Less
                                                                       Clearly Defined
                                                                                          Restrictive      Prior
                                                 Basis for Sealing      and Serious
                                                                                         Alternative       Order   Party in
                                              (Legitimate Private or     Injury that
     Material/Title of Document                                                          to the Relief    Sealing Opposition
                                               Public Interests That   Would Result if
                                                                                          Sought Is      the Same to Sealing
                                               Warrant the Relief)      Relief Is Not
                                                                                              Not        Materials
                                                                          Granted
                                                                                          Available

          internally”), (“And . . .
          accumulators”)

Page 29   (“which . . . ”), (“Scientific
          . . .”), (“contains . . .”),
          (“Appendix . . . groups”),
          (“responding . . . did”),
          (“indication . . .”), (“J&J . . .
          executed”), (“shows . . .
          issues”), (“proposal . . .
          Impact”), (“Though . . . day”),
          (“Scientific . . .”)

Page 30   (“It . . . maximizers”),
          (“Scientific . . .
          conversation”), (“shows . . .
          Martin”), (“Doherty . . .
          program”), (“attaches . . .
          covered”), (“shows . . .
          outcomes”)

Page 31   (“shows . . . document”),
          (“shows . . . populations”),
          (“an . . . project”), (“an . . .
          Programs”), (“shows . . .

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                                                                                          Why a Less
                                                                        Clearly Defined
                                                                                           Restrictive      Prior
                                                  Basis for Sealing      and Serious
                                                                                          Alternative       Order   Party in
                                               (Legitimate Private or     Injury that
      Material/Title of Document                                                          to the Relief    Sealing Opposition
                                                Public Interests That   Would Result if
                                                                                           Sought Is      the Same to Sealing
                                                Warrant the Relief)      Relief Is Not
                                                                                               Not        Materials
                                                                           Granted
                                                                                           Available

           patients”), (“shows . . .
           telling”), (“show . . .
           maximizers”)

Page 32    (“five . . . Shea”), (“an . . .
           forward”), (“Scientific . . .
           programs”), (“Martin . . .
           Programs”), (“the . . .
           Scientific”)

Page 32,   (“email . . . max”), (“an . . .
note 23    Martin”), (“it . . .
           Consequences”), (“the . . .
           harm”), (“associating . . .
           abandonment”), (“describing
           . . . adherence”), (“saving . . .
           services”)

Page 33    (“Global . . . TrialCard”),
           (“Global . . . patients”),
           (“running . . . others”),
           (“Global . . . CarePath”),
           (“assigns . . . Global”), (“does
           . . . work”), (“that . . .
           contract”), (“TrialCard . . .

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                                                                                             Why a Less
                                                                         Clearly Defined
                                                                                              Restrictive       Prior
                                                Basis for Sealing         and Serious
                                                                                             Alternative        Order   Party in
                                             (Legitimate Private or        Injury that
      Material/Title of Document                                                             to the Relief     Sealing Opposition
                                              Public Interests That      Would Result if
                                                                                              Sought Is       the Same to Sealing
                                              Warrant the Relief)         Relief Is Not
                                                                                                  Not         Materials
                                                                            Granted
                                                                                              Available

           work”), (“assigns . . . all”),
           (“talking . . . only”)

Page 34    (“Including . . . shortly”),
           (“with . . .”)

Exhibits   Sealing of emails and            JJHCS requests the           If filed on the     JJHCS            None     None
83 & 85    attachments regarding the        redaction of information     public docket,      requests the
           administration of Carepath       in certain exhibits to the   these exhibits to   sealing of
                                            May 21 letter that is not    the May 21 letter   only the
Exhibits   Sealing of emails and            known to the general         would reveal        information
86 & 88    confidential attachments         public and which the         confidential        that will
           regarding business               parties agreed to keep       material relating   reveal
           information                      confidential. JJHCS          to JJHCS’s          confidential
                                            maintains that these         sensitive           information
Exhibit    Sealing of contract regarding    documents and exhibits       business            that is not
87         the CarePath program             contain sensitive business   information.        known to the
                                            information, including                           general
Exhibit    Redaction of discovery letter    information related to       Disclosure of       public. No
91         regarding confidential           non-party Janssen entities   this confidential   less
           business information and the                                  and proprietary     restrictive
           CarePath program                                              information to      alternative is




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                                                                                       Why a Less
                                                                   Clearly Defined
                                                                                        Restrictive      Prior
                                             Basis for Sealing      and Serious
                                                                                       Alternative       Order   Party in
                                          (Legitimate Private or     Injury that
      Material/Title of Document                                                       to the Relief    Sealing Opposition
                                           Public Interests That   Would Result if
                                                                                        Sought Is      the Same to Sealing
                                           Warrant the Relief)      Relief Is Not
                                                                                            Not        Materials
                                                                      Granted
                                                                                        Available

Exhibit     Redaction of discovery       and the CarePath          the public would    available or
94          responses regarding the      program.                  cause irreparable   practicable.
            CarePath program                                       harm to JJHCS
                                                                   because it would
Exhibits    Sealing of emails and                                  place JJHCS at a
96, 97,     confidential attachments                               competitive
98, 99,     regarding the CarePath                                 disadvantage if
100, 101,   program and administration                             its competitors
102, 103,   and confidential business                              secured the
104, 105,   information                                            information.
108 &
109




                                                            23
